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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA


 UNITED STATES OF AMERICA,                 )
                                           )                    8:03CR566
                      Plaintiff,           )
                                           )
               v.                          )
                                           )         SENTENCING MEMORANDUM
 SCOTT GOODMAN,                            )
                                           )
                      Defendant.           )
                                           )


        Defendant Scott Goodman is before the court on remand from the Eighth Circuit

 Court of Appeals for resentencing. Filing No. 169. This sentencing memorandum

 supplements findings made on the record at sentencing hearings on August 4, 2006;

 October 6, 2006; October 19, 2006; and March 14, 2008.

        I. BACKGROUND

        Defendant Goodman and co-defendants Leslie Fisher and Randy Evans were

 charged in this case with conspiracy to manufacture methamphetamine, in violation of 21

 U.S.C. §§ 841(a)(1) and 846, and possession of pseudoephedrine, knowing it would be

 used to manufacture methamphetamine, in violation of 21 U.S.C. § 841(c)(1). Filing No.

 1, Indictment at 1. This case has been appealed and remanded for resentencing by the

 Court of Appeals for the Eighth Circuit (“Eighth Circuit”) twice. Most recently, the Eighth

 Circuit found that this court had committed clear error in granting Goodman a four-level

 reduction based on his role as a minimal participant under U.S.S.G. § 3B1.2(a). United

 States v. Goodman, 509 F.3d 872, 877 (8th Cir. 2007). It also found error in the court’s

 consideration of Goodman’s postsentencing rehabilitation in connection with either a

 departure or a variance. Id.
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            The facts are set forth in the court’s earlier opinion and will be restated only as

 relevant to Goodman’s resentencing. See Filing No. 200, Sentencing Memorandum

 (“Sent. Mem.”). Goodman was arrested on November 12, 2003, with his then-girlfriend,

 Leslie Fisher, after Fisher had been caught shoplifting pseudoephedrine. He and Fisher

 were both charged with conspiracy to manufacture methamphetamine, in violation of § 21

 U.S.C. §§ 841(a)(1) and 846, and possession of pseudoephedrine, in violation of 21

 U.S.C. § 841(c)(1). Filing No. 1, Indictment at 1. No drug quantity was charged in the

 indictment. Id. Co-defendant Randy Evans was later arrested and charged with the same

 offenses. Id. Fisher and Goodman were initially sentenced shortly after the United States

 Supreme Court decided Blakely v. Washington, 542 U.S. 296, 392 (2004), which

 invalidated the State of Washington’s mandatory sentencing guidelines and called the

 federal sentencing guidelines into question. Fisher and Goodman entered “straight up”

 pleas of guilty to the indictment and did not enter into plea agreements with the

 government. Filing No. 89, Leslie Fisher Petition; Filing No. 90, Scott Goodman Petition.

 Randy Evans, however, entered into a plea agreement with the government, under which

 the government agreed to consider Evans’s cooperation in connection with sentence

 reductions under either U.S.S.G. § 5K1.1 or 18 U.S.C. § 3553(e). Filing No. 78, Evans

 Plea Agr. at 3. The government never moved for any reduction of Evans’s sentence.

            In preparation for the initial sentencing, the probation office determined that

 Goodman should be held responsible for a quantity of pseudoephedrine that established

 his base offense level at 30.1 Goodman PSR at 6, 8. It also found that the facts

        1
          The amount of pseudoephedrine was based on quantities seized from Goodman and Fisher at the
time of their arrest, as well as quantities seized for Evans and quantities that Evans stated he had obtained
from Goodman and Fisher in the past.

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 supported a two-level enhancement for possession of a dangerous weapon. Id. at 8. The

 probation office noted that the government refused to move for the third-level reduction

 for acceptance of responsibility under U.S.S.G. § 3A1.1(b) and thus provided only a two-

 level reduction. Id. No role-in-the-offense adjustment was recommended. Id. at 7.

 Goodman’s criminal history category was I and his resulting Guidelines sentencing range

 was 97 to 121 months.2 At the time of Goodman’s first sentencing, this court interpreted

 Blakely to mean that the quantity of drugs had to be charged in the indictment and proved

 to a jury beyond a reasonable doubt. See United States v. Terrell, — F. Supp. —, 2004

 WL 1661018 (D. Neb. July 22, 2004). Accordingly, the court calculated Goodman’s

 Guidelines sentence as follows:               base offense level 12, less 2 for acceptance of

 responsibility, resulting in a total offense level of 10. At criminal history category I, the

 court found that Goodman's sentencing range was six to twelve months. Filing No. 145,

 Sentencing Hearing Transcript (“Sent. Hr'g Tr.”) at 30.                 The court sentenced Blakely to

 a term of incarceration of 12 months and one day. Filing No. 117, Order at 7; Filing No.

 124, Scott Goodman Judgment. Goodman has served that sentence.



        2
          The probation office also calculated that Fisher’s base offense level should be 30. After subtraction
of three points for acceptance of responsibility, her total offense level was 27, resulting in a sentencing range
of 87-108 months. Fisher had a criminal history category of III because she had been previously convicted
of a methamphetamine offense in this court, and was under supervision for that offense at the time of her
arrest in this case. The court sentenced Fisher to a combined term of incarceration of 36 months for the
conviction in this case and the violation of supervised release in the other case. Filing No. 123. The
government appealed Fisher’s sentence and the action was remanded for resentencing for consideration of
the Guidelines as advisory under United States v. Booker, 543 U.S. 220, 260 (2005). She was again
sentenced to the same sentence, or time served. Her resentencing was appealed by the government, but the
appeal was later abandoned.

        The probation office found co-defendant Randy Evans responsible for a quantity of drugs that resulted
in a base offense level of 28. Evans PSR at 7. After application of a three-level adjustment for acceptance
of responsibility, and a two-level reduction for role in the offense, his Guidelines sentencing range was 70 to
87 months. Id. at 18. He entered into a binding cooperation plea agreement with the government that
recommended a minor role adjustment and provided for an offense level of 26. Filing No. 78, Randy Evans
Plea Agr. at 1 & 4. Pursuant to that agreement, Evans was sentenced to 42 months. Filing No. 114,
Judgment.

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        The government appealed the sentence and the action was remanded for

 consideration of the Supreme Court’s holding in United States v. Booker, 543 U.S. 220,

 260 (2005), that the federal sentencing Guidelines could be constitutionally applied if they

 were advisory. Filing No. 169, Opinion at 2 (8th Cir. Mar. 21, 2006) (per curiam); United

 States v. Goodman, 509 F.3d at 874.

        At Goodman’s second sentencing, the government stipulated to a quantity

 determination that resulted in a base offense level of 26 and also moved for a three-level

 reduction for acceptance of responsibility. It abandoned its earlier position that an upward

 adjustment for Goodman’s role in the offense was applicable, but continued to oppose any

 downward adjustment. It also sought a weapon enhancement and opposed any safety-

 valve reduction. The court found Goodman was entitled to an adjustment for minimum

 role in the offense and found the evidence did not support a weapon enhancement. Filing

 No. 200, Sent. Mem. at 17-19. The court also found that Goodman’s postoffense

 rehabilitation was extraordinary and resentenced Goodman to the time he had served.

 Id. at 19; Filing No. 202, Amended Judgment.          In addition, the court imposed the

 maximum period of supervised release, three years, commencing on the date of the

 resentencing. Id. On appeal, the government challenged the court’s minimal role

 adjustment and its finding of extraordinary postoffense rehabilitation, but did not appeal

 the court’s weapon finding. Goodman, 509 F.3d at 875-77. The Eighth Circuit again

 reversed and remanded. Id. at 877.        The Eighth Circuit did not address this court’s

 application of the sentencing factors in 18 U.S.C. § 3553(a).

        After the Eighth Circuit reversed, but before Goodman’s resentencing hearing, the

 Supreme Court decided Kimbrough v. United States, 552 U.S. —, —, 128 S. Ct. 558

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 (2007), and Gall v. United States, 552 U.S. —, —, 128 S. Ct. 586 (2007). Those cases

 clarified the extent of a district court’s discretion after Booker. See 552 U.S. at —, 128 S.

 Ct. at 575 (holding that it is not an abuse of discretion for a district court to find that the

 Guidelines “crack/powder disparity yields a sentence ‘greater than necessary’ to achieve

 § 3553(a)’s purposes”); Gall, 552 U.S. at —, 128 S. Ct. at 595 (rejecting an appellate rule

 that required extraordinary circumstances to justify a sentence outside the Guidelines).

        The hearing on Goodman’s sentencing on remand was continued at the

 government’s request so that it could investigate Goodman’s substantial assistance.

 Filing No. 234.    The government later filed a motion for downward departure for

 substantial assistance under U.S.S.G. § 5K1.1 and 18 U.S.C. § 3553(e). Filing No. 235.

 At the rescheduled sentencing hearing, the government informed the court that Goodman

 had provided Iowa law enforcement officials with information that lead to the arrest and

 conviction of an individual for manufacture and distribution of methamphetamine. The

 individual was sentenced to ten years in prison. Goodman’s information also led to the

 discovery of a methamphetamine lab. There is no dispute that Goodman would have

 testified in court against the individual if necessary.

         The government argued that Goodman’s Guidelines sentence should be

 calculated to be Offense Level 23 (base offense level 26 less 3 for acceptance of

 responsibility) at Criminal History Category I, resulting in a sentencing range of 46 to 57

 months. It recommended a 33% departure from that range for Goodman’s substantial

 assistance, which would result in a sentence of 30 months.                In seeking further

 incarceration of the defendant, the government argued that the evidence showed that

 Goodman was more involved than the other two defendants and that Goodman was the



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 “cooker” of the methamphetamine. The government asserted that when Goodman was

 arrested he was in possession of “distribution quantities” of methamphetamine, a drug

 scale and manufacturing precursors such as lithium batteries and coffee filters.

            Defendant agreed with the government’s calculation of the offense level at 23, but

 argued for application of a minor role adjustment of 2 levels, resulting in a total offense

 level of 21. Offense level 21 at criminal history category I would result in an advisory

 Guidelines calculation of 37 to 46 months.3 Defendant offered a proffer that if he were to

 testify, he would testify that the precursor items found in his truck belonged to Leslie

 Fisher. The government objected to the proffer, and Scott Goodman then testified at the

 hearing.

            Goodman testified that he is now married to Leslie Fisher. He testified that

 numerous items were in his truck at the time it was searched, including groceries, tools,

 and projects for his job. He stated that the tin foil and coffee filters had been purchased

 along with other groceries in the truck. He testified that he did not know the lithium

 batteries were in truck, but assumed they belonged to Leslie and that she was delivering

 them to the same person for whom she was getting the pseudoephedrine. With respect

 to the baggies of methamphetamine found on his person, he testified that the

 methamphetamine belonged to him for his personal use and to Leslie for her personal

 use. He stated that Leslie had asked him to hold her methamphetamine for her while she

 was in the store.

            Goodman also testified that he has never manufactured or witnessed the

 manufacture of methamphetamine. He testified that he knew Leslie’s family had been


        3
         Application of a 33% reduction for substantial assistance to the low end of that range would amount
to a sentence of approximately 24 months.

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 prosecuted for drug crimes. He also knew of their reputation as methamphetamine

 dealers and manufacturers. He stated that his probation officer had forbidden him to

 contact or associate with Leslie’s extended family. He testified that he was aware that

 Leslie’s brother, Andrew Fisher, had been convicted twice in Iowa state court for

 methamphetamine manufacture and he presumed Leslie had purchased precursors for

 her brother. He also testified that he and Leslie had used methamphetamine with Leslie’s

 family and had purchased methamphetamine from Andrew Fisher. He further testified

 that he had the miniature drug scale to weigh his own purchases of drugs, and to ensure

 that Leslie was not taking some of his supply. He stated that he trusts his wife with

 everything except dope. He also testified that he developed his methamphetamine habit

 after he became involved with Leslie, about six months before they were arrested.

        The government moved for a continuance to refute the evidence presented by

 Goodman. The defendant objected to any continuance, arguing that the government had

 been provided with ample time to obtain the testimony of Randy Evans, if it had so

 desired. The defendant also argued that if Leslie Fisher were called to testify, it would not

 be likely that her testimony would differ from Goodman’s testimony. The government

 questioned Goodman’s credibility, arguing that his testimony in court was at odds with the

 proffer statement he had provided to the government shortly before the second

 sentencing. The court reviewed the proffer statement and found no inconsistencies. The

 government was not able to articulate what evidence it could present to refute Goodman’s

 testimony. Accordingly, the government’s motion for a continuance was denied.

        The court’s review of records of Goodman’s supervision by the Probation Office

 show that Goodman is employed at John Deere in Malvern, Iowa, and his employer



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 speaks highly of him. He has submitted to DNA and drug testing, maintains sobriety and

 submits monthly written reports as directed by his probation officer. Goodman and his

 wife have had problems and altercations, generally involving her potential relapse into

 drug use, over the past several years. After an episode of domestic violence, they were

 directed to reside separately and to obtain counseling. They eventually reconciled and

 Fisher gave birth to their daughter in August 2007. Recently, the court was informed that

 Leslie had violated the terms of her supervised release and it appears she is using drugs.

 She was directed by her probation officer to obtain a substance abuse evaluation and

 counseling and told that she could not return to the home she shared with Goodman.

 Goodman was awarded temporary custody of their daughter and he and the infant

 daughter are presently living with his mother.

        II. DISCUSSION

               A. The Law

        In United States v. Booker, the Supreme Court found the mandatory federal

 sentencing guidelines system violated the Sixth Amendment. Booker, 543 U.S. at 226-27.

 The Supreme Court determined, however, in the remedial portion of the Booker opinion,

 that the constitutional infirmity could be cured by modifying the federal sentencing statute

 to make the Guidelines advisory. Id. at 245. Accordingly, the range of choice in

 sentencing dictated by the facts of the case has been significantly broadened. Gall, 552

 U.S. at —, 128 S. Ct. at 602 (finding a sentence outside the Guidelines to be reasonable);

 Kimbrough, 552 U.S. at —, 128 S. Ct. at 570 (2007) (noting that courts may vary from

 Guidelines ranges based solely on policy considerations, including disagreements with the

 Guidelines); Rita v. United States, 551 U.S. —, —, 127 S. Ct. 2456, 2465 (2007) (holding


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 that a district court may consider arguments that “the Guidelines sentence itself fails

 properly to reflect § 3553(a) considerations”); Cunningham v. California, 549 U.S. —, —,

 127 S. Ct. 856, 867 (2007) (stating that judges are no longer tied to the sentencing range

 indicated in the Guidelines).

            Under the Sentencing Reform Act, as modified by Booker, judges are required “to

 take account of the Guidelines together with other sentencing goals” when fashioning a

 defendant's sentence. Booker, 543 U.S. at 261. As the Supreme Court recently clarified

 in Gall, “the Guidelines should be the starting point and the initial benchmark” in

 determining a sentence. Gall, 552 U.S. at —, 128 S. Ct. at 596 (“a district court should

 begin all sentencing proceedings by correctly calculating the applicable Guidelines

 range.”); United States v. Hernandez, — F.3d —, —, 2008 WL 623616, *2 (8th Cir. Mar.

 10, 2008) (noting that “[a] district court's first step in sentencing proceedings is to correctly

 calculate the defendant's Guidelines range”).                  District courts must therefore “give

 respectful consideration to the Guidelines,” but are permitted “‘to tailor the sentence in

 light of other statutory concerns as well.’" Kimbrough, 552 U.S. at —, 128 S. Ct. at 570

 (quoting Booker, 543 U.S. at 245-246); Gall, — U.S. at —, 128 S. Ct. at 596 (stating “the

 Guidelines are not the only consideration, the district judge should consider all of the

 § 3553(a) factors” to determine the appropriate sentence). 4 The district court is free to


        4
         Section 3553(a) lists seven factors that a sentencing court must consider. The first factor is a broad
command to consider "the nature and circumstances of the offense and the history and characteristics of the
defendant." 18 U.S.C. § 3553(a)(1). The second factor requires the consideration of the general purposes
of sentencing, including: "the need for the sentence imposed—

        (A) to reflect the seriousness of the offense, to promote respect for the law, and to provide
        just punishment for the offense;
        (B) to afford adequate deterrence to criminal conduct;
        (C) to protect the public from further crimes of the defendant; and
        (D) to provide the defendant with needed educational or vocational training, medical care, or
        other correctional treatment in the most effective manner. 18 U.S.C. § 3553(a)(2).

The third factor pertains to "the kinds of sentences available," 18 U.S.C. § 3553(a)(3); the fourth to the

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 make its own reasonable application of the § 3553(a) factors, and to reject (after due

 consideration) the advice of the Guidelines. Kimbrough, 552 U.S. at —, 128 S. Ct. at 577

 (Scalia, J., concurring) (noting that “any thumb on the scales,” indicating that the “the

 Guidelines must be followed even where the district court's application of the § 3553(a)

 factors is entirely reasonable” would violate the Sixth Amendment because “the ‘advisory’

 Guidelines would, over a large expanse of their application, entitle the defendant to a

 lesser sentence but for the presence of certain additional facts found by judge rather than

 jury”) (emphasis in original).

         The Sentencing Reform Act “contains an overarching provision instructing district

 courts to ‘impose a sentence sufficient, but not greater than necessary’ to accomplish the

 goals of sentencing, including ‘to reflect the seriousness of the offense,’ ‘to promote

 respect for the law,’ ‘to provide just punishment for the offense,’ ‘to afford adequate

 deterrence to criminal conduct,’ and ‘to protect the public from further crimes of the

 defendant.’" Kimbrough, 552 U.S. at —, 128 S. Ct. at 570. Also, the statute “further

 provides that, in determining the appropriate sentence, the court should consider a

 number of factors, including ‘the nature and circumstances of the offense,’ ‘the history and

 characteristics of the defendant,’ ‘the sentencing range established’ by the Guidelines,

 ‘any pertinent policy statement’ issued by the Sentencing Commission pursuant to its

 statutory authority, and ‘the need to avoid unwarranted sentence disparities among

 defendants with similar records who have been found guilty of similar conduct.’” Id.




Sentencing Guidelines, 18 U.S.C. § 3553(a)(4); the fifth to any relevant policy statement issued by the
Sentencing Commission, 18 U.S.C. § 3553(a)(5); the sixth to "the need to avoid unwarranted sentence
disparities," § 3553(a)(6); and the seventh to "the need to provide restitution to any victim," § 3553(a)(7).


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        The district court “may not presume that the Guidelines range is reasonable,” but

 must “make an individualized assessment based on the facts presented.” Gall, 552 U.S.

 at —, 128 S. Ct. at 597. “[A]fter giving both parties an opportunity to argue for whatever

 sentence they deem appropriate, the district judge should then consider all of the

 § 3553(a) factors to determine whether they support the sentence requested by a party.”

 Id., 552 U.S. at —, 128 S. Ct. at 596. If the court decides that an outside-Guidelines

 sentence is warranted, the court must consider the extent of the deviation and ensure that

 the justification is sufficiently compelling to support the degree of the variance. Id. The

 Supreme Court rejects, however, the notion that “‘extraordinary’ circumstances [are

 required] to justify a sentence outside the Guidelines range” and rejects “the use of a rigid

 mathematical formula that uses the percentage of a departure as the standard for

 determining the strength of the justifications required for a specific sentence.” Id. at 595.

 Moreover, an appellate court may not apply a presumption of unreasonableness to a

 sentence outside the Guidelines. Gall, 552 U.S. at —, 128 S. Ct. at 597.

        The Supreme Court recognizes that custodial sentences are qualitatively more

 severe than probationary sentences of equivalent terms. Id. at 595. Nevertheless, the

 court recognizes that offenders on probation are subject to several substantial restrictions

 on their liberty, including provisions requiring that they may not leave the judicial district,

 move, or change jobs without notifying their probation officer or the court, that they report

 regularly to their probation officer, permit unannounced visits to their homes, refrain from

 associating with any person convicted of a felony, refrain from excessive drinking, and

 submit to drug testing. Id. In certain situations, a sentence of probation instead of

 incarceration may work to promote respect for the law by illustrating a rejection of the view



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 that the law is merely a means to dispense harsh punishment without taking into account

 the real conduct and circumstances involved in sentencing. Id. at 599.

       The Guidelines were developed to advance sentencing reform goals of reducing

 sentencing disparity, assuring certainty and severity of punishment, and increasing the

 rationality and transparence of punishment. See United States Sentencing Commission,

 Fifteen Years of Guidelines Sentencing at 11-12 (Nov. 2004) (hereinafter, “Fifteen-Year

 Assessment”). The Sentencing Commission was originally charged by Congress with

 developing guidelines to meet the “purposes of punishment” set out in § 3553(a)(2), and

 to achieve proportionality, crime control through incapacitation and deterrence, and

 rehabilitation. Id. at 12-13. Toward that end, the Commission developed and used data

 on past practices and recidivism in formulating the Guidelines. See id. at 14 (noting that

 the Guidelines are based in part on statistical analyses of pre-Guidelines sentencing

 practices); U.S.S.G. § 1A.1, intro. comment., pt. A, ¶ 3; Kimbrough, 552 U.S. at —, 128

 S. Ct. at 567 (regarding drug trafficking Guidelines). Based on sentencing statistics, the

 Commission established the offense levels for each crime, linked to a recommended

 imprisonment range. Fifteen-Year Assessment at 14. Accordingly, in many cases, the

 Guidelines represent a reasonable estimation of a fair sentencing range. See Kimbrough,

 552 U.S. at —, 128 S. Ct. at 564 (noting that in the ordinary case, the Commission's

 recommendation of a sentencing range will reflect a rough approximation of sentences

 that might achieve § 3553(a)'s objectives).

       However, for policy reasons and because statutory mandatory minima dictated

 many terms of the Guidelines, the Commission departed from past practices in setting

 offense levels for such crimes as fraud, drug trafficking, and child crimes and sexual



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 offenses. Fifteen-Year Assessment at 15, 72-73; see Kimbrough, 552 U.S. at —, 128 S.

 Ct. at 567. Consequently, the Guideline ranges of imprisonment for those crimes are a

 less reliable appraisal of a fair sentence. See Kimbrough, 552 U.S. at —, 128 S. Ct. at

 574. The Guidelines for possession of precursor chemicals are among those promulgated

 pursuant to Congressional directive. See, e.g., U.S.S.G. app. C, amends. 371 (1991),

 447 (1992), 519 (1995), 541 and 557 (1997), 605 and 606 (2000), 611 and 625 (2001),

 646 (2002), 661(2003), 667 and 668 (2004), 679 (2005), 705 and 707 (2007). 5

            In cases involving application of Guidelines that do not exemplify the Commission's

 exercise of its characteristic institutional role of basing its determinations on “‘empirical

 data and national experience, guided by a professional staff with appropriate expertise,’”

 it is not an abuse of discretion for a district court to conclude when sentencing a particular

 defendant that application of the guideline will yield a sentence “greater than necessary”

 to achieve § 3553(a)’s purposes. Id., 552 U.S. at —, 128 S. Ct. at 574-75 (quoting United

 States v. Pruitt, 502 F.3d 1154, 1171 (10th Cir. 2007) (McConnell, J., concurring)). A

 sentencing judge has greater familiarity with an individual case and individual defendant

 than the Commission or the appeals court and is “therefore ‘in a superior position to find

 facts and judge their import under § 3353(a)’ in each particular case.” Kimbrough, 552

 U.S. at —, 128 S. Ct. at 574 (quoting Gall, 552 U.S. at —, 128 S. Ct. at 597).



        5
         Pseudoephedrine was added to the list of prohibited chemicals to implement the Domestic Chemical
Diversion Control Act of 1993, 21 U.S.C. § 801. See Pub. L. No. 103-200, 107 Stat. 2333 (Dec. 17, 1993).
The Commission was directed to increase base offense levels for possession of precursor chemicals in the
Comprehensive Methamphetamine Control Act of 1996, 21 U.S.C. § 872a. See Pub. L. No. 104-237, 110
Stat. 3099 (Oct. 3, 1996). Maximum offense levels for precursor chemical offenses were increased and
quantity tables adjusted to correspond to possession of actual methamphetamine instead of those for
possession of a mixture or substance containing a detectable amount of methamphetamine by the
Methamphetamine Anti-proliferation Act of 2000, 21 U.S.C. § 864. See Pub. L. No. 106-310, 114 Stat. 1227
(Oct. 17, 2000). The USA PATRIOT Improvement and Reauthorization Act of 2005 added the offense of
smuggling precursor chemicals with a mandatory consecutive sentence of fifteen years, 21 U.S.C. § 865.
See Pub. L. No. 109-177, 120 Stat. 192 (Mar. 9, 2006).

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        The burden is on the government to prove sentencing enhancements. United

 States v. Poor Bear, 359 F.3d 1038, 1041 (8th Cir. 2004). An objection to the findings of

 a PSR puts the government on notice that it must meet an additional burden at the

 sentencing hearing. See United States v. Hammer, 3 F.3d 266, 272-73 (8th Cir.1993).

 If a defendant objects to factual allegations in a presentence report, the court must either

 state that the challenged facts will not be taken into account at sentencing, or it must

 make a finding on the disputed issue. See Fed. R. Crim. P. 32(c)(3)(D). Conversely, the

 defendant has the burden to show eligibility for reductions in the sentence. See, e.g.,

 United States v. Hagan, 412 F.3d 887, 893 (8th Cir. 2005).

        In determining a Guidelines sentence, the court has authority to depart for

 substantial assistance on a government motion. U.S.S.G. § 5K1.1; United States v.

 Vasquez, 433 F.3d 666, 670 (8th Cir. 2006). In evaluating a defendant’s assistance in the

 context of a U.S.S.G. § 5K1.1 motion, relevant factors include: (1) the court's evaluation

 of the significance and usefulness of the defendant's assistance, taking into consideration

 the government's evaluation of the assistance rendered; (2) the truthfulness,

 completeness, and reliability of any information or testimony provided by the defendant;

 (3) the nature and extent of the defendant's assistance; (4) any injury suffered, or any

 danger or risk of injury to the defendant or his family resulting from his assistance; and (5)

 the timeliness of the defendant's assistance. U.S.S.G. § 5K1.1(a). United States v.

 Saenz, 428 F.3d 1159, 1162 (8th Cir. 2005). The extent of a departure or reduction

 pursuant to § 5K1.1 or § 3553(e) “can be based only on assistance-related

 considerations.” United States v. Pepper, 412 F.3d 995, 998 (8th Cir. 2005).




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        It is ultimately the responsibility of the sentencing judge to determine the extent of

 the departure. United States v. Haack, 403 F.3d 997, 1005 (8th Cir. 2005). Moreover,

 a recommendation for a substantial assistance departure that is not adequately explained

 by the government is entitled to less weight than a more fully explained recommendation.

 Id. at 1005 n.2. “Under the Sentencing Reform Act and Booker, sentencing discretion

 rests in the final analysis with the sentencing judge, not the prosecution.” United States

 v. Lazenby, 439 F.3d 928, 934 (8th Cir. 2006) (noting that the prosecution’s evaluation of

 a defendant’s cooperation is critical, but not controlling). A typical defendant generally

 gets a reduction of fifty percent from the Guidelines range for substantial assistance. See,

 e.g., The United States Sentencing Commission Special Post-Booker Coding Project:

 Information for All Cases: Data Extraction as of February 1, 2006 (Feb. 14, 2006),

 available at http://www.ussc.gov/bf.htm (“Coding Project Report”) (finding that data shows

 that the “median percent decrease from guideline minimum” for substantial assistance

 cases in all offense categories is 49.9 percent and the “median percent decrease from

 guideline minimum” for substantial assistance cases involving drug-trafficking offenses is

 45.8 percent); see also United States v. Christenson, 403 F.3d 1006, 1009 (8th Cir.),

 affirmed en banc by an equally divided court, 424 F. 3d 852 (8th Cir. 2006) (finding that

 a 75 percent reduction comported with § 3553(a) sentencing objectives and

 considerations); United States v. Pizano, 403 F.3d 991, 996 (8th Cir. 2005) (finding that

 a 75 percent reduction comported with § 3553(a) sentencing objectives and

 considerations); but cf. United States v. Coyle, 429 F.3d 1192, 1193-94 (8th Cir. 2005)

 (while not expressly invoking § 3553(a), finding that a reduction of 73 percent was not

 appropriate, because to “avoid unwarranted sentencing disparities,” defendants offering

 a greater degree of assistance would receive reductions in the range of 80 to 100

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 percent); United States v. Saenz, 428 F.3d 1159, 1164 (8th Cir. 2005) (finding a 68

 percent reduction inappropriate in light of “the overall structure and theory of the

 guidelines, including the statutory command to reduce unwarranted sentence disparities”);

 Haack, 403 F.3d at 1006 (expressly invoking § 3553(a) factors as a basis for rejecting an

 85 percent reduction).

            Also, factors that were discouraged or prohibited departure factors under the

 mandatory Guidelines may be considered in applying the § 3553(a) factors. United States

 v. Lazenby, 439 F.3d at 933. “[P]re-Booker departures and post-Booker variances are not

 the same” and there may be “cases that would not justify a departure under the

 Guidelines but which are appropriate for a variance” as well as “cases in which a

 combination of a Guidelines departure and other § 3553(a) factors may produce a lower

 reasonable sentence than a departure alone.” United States v. Robinson, 454 F.3d 839,

 842 (8th Cir. 2006).

                  B.     ANALYSIS

                         1.       Initial Guidelines Calculation

            Given the government’s concession that it could only prove a quantity of drugs that

 would result in a base offense level of 26, the court finds that Goodman’s base offense

 level is 26. The court will grant the government’s motion for a three-level downward

 adjustment for acceptance of responsibility under U.S.S.G. § 3E1.1(b), resulting in an

 offense level of 23. The court further finds that Goodman has sustained his burden of

 showing that a reduction for minor role in the offense is applicable. 6



        6
          The Eighth Circuit found that “Goodman was not plainly the least culpable of those involved in the
offenses. Goodman, 509 F.3d at 877. The Eighth Circuit’s conclusion was based on absence of evidence
that the items in the truck belonged to Fisher. Id. at 876. The court has now been presented with that
evidence.

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        The court credits Goodman’s testimony that the items found in his truck belonged

 to Leslie Fisher. Based on the court’s familiarity with Leslie Fisher’s extensive history of

 drug dependence, her previous conviction for conspiracy to distribute methamphetamine,

 and the prosecution of several of her extended family members for methamphetamine

 manufacture and distribution, the court finds it logical that Fisher would be in possession

 of such items. Also, possession of some of the items, including a methamphetamine pipe,

 miniature scale, and burnt pieces of tin foil are consistent with use of methamphetamine

 as well as manufacture. The quantities of methamphetamine in Goodman’s possession

 were user quantities. Thus, the presence of drug paraphernalia and precursors in the

 vehicle does not automatically lead to the conclusion that Goodman was anything more

 than a minor player in the conspiracy.

        The court also credits Goodman’s testimony that he has never manufactured

 methamphetamine. That testimony comports evidence presented at a suppression

 hearing that Goodman told the law enforcement officers at the time he was arrested that

 he did not know how much pseudoephedrine was required to manufacture

 methamphetamine. See Filing No. 54, Suppression Hearing Transcript at 32, Testimony

 of Omaha Police Officer Jeremy Kerwin, Hearing Ex. 1, Officer Kerwin Police Report. The

 court further credits Goodman’s testimony that some of the methamphetamine found on

 his person belonged to Fisher. Goodman’s testimony makes sense in the context of

 Fisher’s history of drug use and addiction. The baggies seized from Goodman contained

 varying user quantities of methamphetamine and Goodman had a rational explanation for

 his possession of Leslie’s, as well as his own, supply. Further, in view of Fisher’s history,

 it makes sense that he would possess a drug scale to ensure he was sold proper

 quantities and to ensure that Fisher was not pilfering his supply.

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            The only evidence in the record that Goodman had any involvement in the

 conspiracy beyond obtaining pseudoephedrine is found in the statements of Randy

 Evans. Interestingly, Randy Evans entered into a cooperation plea agreement with the

 government, yet he was never offered a sentence reduction. At Goodman’s resentencing

 after the first remand, the government stipulated to a lower drug quantity rather than call

 Evans to testify to the quantities attributed to Goodman and Fisher in the PSR. 7 See

 Filing No. 213, Transcript of Hearing at 4. Filing No. 213, Transcript of Resentencing

 Proceeding held on August 4, 2006. At oral argument on appeal to the Eighth Circuit, the

 Assistant U.S. Attorney argued that Evans was not available to testify at Goodman’s

 resentencing hearing “for the simple reason that he had served his time and he was out

 on pretrial—supervised release and he chose not to cooperate.” Evans, of course, could

 have been subpoenaed to testify. He remains on supervised release at the present time.

 As noted, the government has had ample opportunity to secure Evans’s testimony, but

 has declined to do so.8 Goodman was indicted for this crime in December 2003. Randy

 Evans’s credibility was placed at issue early in the action by Goodman’s objections to the


        7
            The prosecutor stated:

        We are in agreement of the amount of pseudoephedrine that was found in their possession
        on the day of their arrest and the government is not attempting to hold them responsible for
        any additional amounts attributed to them by Randy Evans as we don't believe we have
        sufficient evidence in that regard at this point.

Filing No. 213, Transcript of Hearing at 4.


          8
            The resentencing hearing was originally set for June 30, 2006. At the hearing, the government
moved for a continuance, stating that although it thought the parties had agreed on a sentencing level, it then
appeared that the government would need to present evidence on the issue. At the rescheduled hearing on
August 4, 2006, the defendant moved for a continuance so that the issue of a possible “safety-valve”
adjustment could be addressed. Filing No. 213, Transcript of hearing held August 4, 2006. The hearing was
continued until October 6, 2006, at which time Goodman testified with respect to his possession of the gun.
Id., Filing No. 212, Transcript of Hearing held Oct. 6, 2006. The government was granted a further
continuance in order to present a police officer’s testimony to refute Goodman’s “safety-valve” proffer. Filing
No. 212, Transcript at 18. At the continued hearing on October 19, 2006, the government presented the
testimony of Officer Eric White, who testified with respect to the search of Goodman’s truck. Filing No. 214,
Transcript of Hearing held Oct. 19, 2006.

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 quantity determinations in the PSR. See Filing Nos. 110,185, and 192, Objections. Under

 the circumstances, the court is unable to afford any credence to the government’s position

 that Evans’s testimony would show more involvement in the conspiracy by Goodman.

        The court finds that Goodman was no more culpable than the other two defendants

 in this case, both of whom received a minor role adjustments. See Filing No. 14, Fisher

 Sent. Mem. at 2, 14-15. Accordingly, the court finds Goodman’s motion for a minor role

 adjustment should be granted. The court calculates Goodman’s sentencing range, before

 departures, to be offense level 21 at criminal history category I, resulting in a Guidelines

 sentencing range of 37 to 46 months.

                      2.     Substantial Assistance Departure

        The court will grant the government’s notion for a departure for substantial

 assistance under U.S.S.G. § 5K11. The court finds that the record shows that Goodman

 has more than satisfied the conditions generally considered in connection with a

 Guidelines departure under U.S.S.G. § 5K1.1. Goodman has clearly provided significant

 useful information to law enforcement. The record shows that he and Fisher provided the

 names of several methamphetamine suppliers to law enforcement officers at the time of

 their arrest and afterward. Goodman’s recent cooperation has resulted in the lengthy

 incarceration of a large-scale methamphetamine manufacturer and distributor and in the

 eradication of a dangerous meth lab. In contrast to many defendants appearing in this

 court, the record shows that Goodman was not motivated to provide the information by

 his own self-interest in obtaining a shorter sentence. The record shows that Goodman

 cooperated with Iowa authorities in an effort to protect his family from the influence of a

 ready availability of drugs. He took a significant risk to his own personal safety and risked

 damage to his familial relationships by cooperating.

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        The court finds Goodman should receive a departure of at least fifty percent from

 the low end of the Guidelines range under U.S.S.G. § 5K1.1. A departure of that

 magnitude is the national norm and is in line with departures granted to other defendant’s

 providing similar assistance to the government. Accordingly, the court finds Goodman’s

 advisory Guidelines sentence is 18 months.

                      3.      Application of 18 U.S.C. § 3553(a)

        Further, the court finds Goodman’s motion for a sentence outside the advisory

 Guidelines range should be granted in consideration of the factors set forth in 18 U.S.C.

 § 3553(a). A variance from the Guidelines sentence of 18 months to a sentence of 12

 months, or time served, will fulfill the objectives of sentencing.

        In considering the nature of the offense, the court notes that Goodman’s conduct,

 though undoubtedly criminal, was a step removed from the actual manufacturing of or

 trafficking in methamphetamine. Procuring precursor chemicals, though a necessary step

 in manufacture, is less serious than the actual manufacture and sale of

 methamphetamine. With respect to the circumstances of the crime, obtaining precursor

 chemicals for methamphetamine manufacturing is, in this court’s experience, almost

 always a function of addiction. No evidence has been adduced showing that Goodman

 was anything more than more than a small player in any methamphetamine manufacturing

 enterprise. The government’s purported reliance on Randy Evans’s elusive testimony to

 the contrary is disingenuous. Importantly, the government did not file a motion to reduce

 Evans’s sentence, in spite of the fact that Evans entered into a cooperation agreement

 and its willingness to stipulate to a drug quantity that established a base offense level of

 26 belies its assertion that Evans’s testimony could establish a far greater quantity.

 Goodman participated in the crime as a direct result of his entanglement with Leslie

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 Fisher, who was also a methamphetamine addict. The court is sadly familiar with the

 addictive power of methamphetamine and with the difficulty of overcoming that addiction.

        In considering the history and characteristics of the defendant, the court notes that

 Goodman’s conviction for this crime is his first offense. He had virtually no contact with

 law enforcement until he became involved with Leslie Fisher and addicted to

 methamphetamine. At the time Goodman was first sentenced, this court imposed what

 it considered to be a fair sentence. The court believed that Goodman needed a period

 of incarceration in order to reduce the likelihood of his recidivism and to remove him from

 negative influences. Goodman completed drug abuse treatment and has complied with

 a drug-testing regimen while under supervision. He has reported for and tested clean on

 all drug tests. He has met all of the significantly restrictive conditions of supervised

 release for an extended period of time and while under a significant level of stress due to

 the prolonged uncertainty with respect to his resentencing. He has a stable work history

 and has maintained consistent and continuous employment while under supervision. He

 has attempted to improve his situation with further education, has fulfilled his child support

 obligations, and has now has sole custody of his infant daughter. The record shows that

 he has attempted to support his wife’s recovery and rehabilitation, up to the point of

 reporting drug dealers to the authorities in order to keep them from his wife. These facts

 show that the court’s initial sentence of 12 months has been sufficient to enable Goodman

 to recover from his addiction and to deter him from committing other crimes.

        Goodman’s case is one of the exceedingly rare cases in which the court can

 envision a positive result. Goodman has shown the court that he can be a productive

 member of society and he is, in fact, an asset to his community.             His family, his

 community, and other communities in rural Nebraska and Iowa will benefit by his example.

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 Under these unusual circumstances, the court finds there is no benefit to the imposition

 of any additional prison time.

        In light of Goodman’s demonstrated ongoing recovery, maintenance of

 employment, payment of child-support obligations, and involvement in the care and

 custody of his infant daughter, there appears to be little need to protect the public from

 any future crimes. Nevertheless, the public’s interest in being free from any future crimes

 will be protected by the court’s ability to incarcerate him should he violate the conditions

 of supervised release.      Also, recently enacted restrictions on the purchase of

 pseudoephedrine and resulting changes in the methamphetamine manufacturing climate

 will further reduce the possibility of future crimes of this nature. Further imprisonment,

 however, would not serve to protect society because a return to prison would interfere with

 Goodman’s recovery. Also, further imprisonment would cause hardship on Goodman’s

 infant daughter since Goodman is now the custodial parent as a result of his wife’s

 relapse.

        This sentence reflects the seriousness of the offense, promotes respect for the law,

 and provides just punishment. The court notes that defendant has already served a

 significant amount of prison time and has relinquished significant liberties during his

 lengthy period of supervised release. The sentence is just, given that the benefit to

 society of a sentence of further imprisonment is outweighed by the harmful effect it would

 have on Goodman’s family situation, especially to his infant daughter, who now relies on

 him for all of her needs, as well as to the other children who rely on him for support. The

 extended period of strictly-conditioned supervised release, together with the term of

 incarceration that Goodman has already served, will protect society and will deter others

 from such conduct.

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        The court also has considered the kinds of sentence available and the applicable

 category of offenses and category of defendant as set forth in the United States

 Sentencing Guidelines and policy statements.        As discussed above, the court has

 calculated Goodman’s Guidelines sentence and has treated that sentence as the starting

 point and initial benchmark in determining his sentence. A variance is appropriate in view

 of the fact that the Guidelines at issue were developed pursuant to statutory directive and

 not based on empirical evidence.

        Importantly, the court has considered the need to avoid sentencing disparity

 between defendants who have committed similar crimes. As discussed above, the

 sentence imposed on Goodman eliminates sentencing disparity between the defendants

 in this case, as well as between defendants charged with crimes similar to one that the

 government’s evidence would have supported in this case.           Based on this court’s

 familiarity with this case and with Leslie Fisher’s prior conviction, it is reasonable to

 conclude that Leslie Fisher was more involved in the methamphetamine conspiracy than

 Goodman. Fisher’s extended family are extensively involved in the methamphetamine

 distribution business in Iowa.

        In determining the sentence the court is also mindful of the changes in the

 sentencing landscape while this case has been pending and the effect of the delayed

 resolution of the case on Goodman. The constitutionality of the Guidelines was in

 question at the time of Goodman’s first sentencing, and they were rendered advisory

 shortly thereafter. Since Goodman’s second sentencing, the court has had the benefit of

 Supreme Court and Eighth Circuit cases further refining and expanding on the changed

 sentencing environment. The changes in the law have created considerable uncertainty


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 and stress for Goodman. During the time that this action wound its way through the

 judicial system, Goodman fully served his sentence, was released, and returned to society

 as a functioning and productive citizen. He has done everything this court has asked of

 him and it would be unjust to require him to endure further imprisonment.

       Accordingly, the court finds a sentence of time served, together with a period of

 supervised release of three years on Count I and three years on Count II, to be served

 concurrently and to commence October 19, 2006, will adequately address the sentencing

 objectives outlined in Section 3553.    An amended judgment and commitment and

 statement of reasons in accordance with this sentencing memorandum will issue this date.

       DATED this 14th day of April, 2008.

                                          BY THE COURT:



                                          s/ Joseph F. Bataillon
                                          Chief U.S. District Court Judge




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